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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
                       vs.                    )       Case No. 04-CR-30139-MJR
                                              )
CYRUS FULP,                                   )
                                              )
                       Defendant.             )

                                             ORDER

REAGAN, District Judge:

               Pursuant to Fed. R. Crim. P. 11 and District Rule 72.1(b)(2), the United States

of America and Defendant Fulp consented to appear before United States Magistrate Judge Clifford

J. Proud for the purpose of Defendant entering a guilty plea. Defendant entered his plea on February

24, 2006 (Doc.     501).     On the same day, Magistrate Judge Proud issued a Report and

Recommendation that the undersigned District Judge accept Defendant’s pleas (Doc. 502).

               The parties had ten days in which to file any objections to the Report. 28 U.S.C.

636(b)(1)(B). The deadline for objections has passed, and none were filed. Accordingly, this Court

ADOPTS the Report and Recommendation (Doc. 502) and ACCEPTS Defendant’s plea.

               IT IS SO ORDERED.

               DATED this 19th day of May, 2006.

                                                             s/Michael J. Reagan
                                                             MICHAEL J. REAGAN
                                                             United States District Judge




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